Case 1:03-md-01570-GBD-SN Document 4687-2 Filed 07/17/19 Page 1of3

EXHIBIT B
Case 1:03-md-01570-GBD-SN Document 4687-2 Filed 07/17/19 Page 2 of3

Case 1:18-cv-11837-GBD-SN Document 13 Filed 032449. tage 1 of 2
DOCUMENT

ELECTRONICALLY FILED

UNITED STATES DISTRICT COURT Doc + a
SOUTHERN DISTRICT OF NEW YORK DATE FILED:
Abel, et al.

Plaintiff(s)

-V- CERTIFICATE OF MAILING

Islamic Republic of Iran Case No.: 1:18-cv-11837 (GBD) (SN)

Defendant(s)

I hereby certify under the penalties of perjury that on the 27. day of March , 2019 ,I served: the
Islamic Republic of Iran, c/o H.E Mohammad Javad Zarif, Minister of Foreign Affairs, Minister of

Foreign Affairs of the Islamic Republic of Iran, Iman Khomeini Avenue, Tehran, Iran.

O the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)(ii).

L] the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

xX the Secretary of State, Attn; Director of Consular Services, Office of Policy Review and
Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

LJ the head of thé agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

_2 copy(ies) of the Summons, Complaint filed on December 17, 2018, Civil Cover Sheet, Notice
of Suit prepared in accordance with 22 CF § 93.2 with a copy of 28 USC 1330, and Affidavit of translator
(along with translations of all the above documents). by Federal Express #813870422543.

Dated: New York, New York pphdrae ¥,
03/27/2019 ye Pye el
Ve a Eg : +

Ruayd;KRasicx! |",

a Paptt |
Edressa Kaival, Z pith!
DEPUTY CLERK

“
So
S Feds. packae .
o . is Express US Airbill ws G138 7O4e 2543
a rest From Please prict and prese hard. : - — -
a Date Sender's FedEx fl a PoE GL OR
Clerk Account Numbor © 12: § 37! 5 4:0 4: - “ g! press Package Service +
oD sendor’s er of the Court, Ruby J. Krajick “~~ i
x wee Nene US District Court ™ iwi sui
N toe eee ReEE scent o FedEx 20ay AM,
a Sem Southern District of New York jae Cf fear ect al Sate Obey MOT ada
Mego oO CK Ic FedEx Priati *
5 3 Oy Racecar FedEx 7
o 3 | Adress 900 Pearl Street Sse ne 0 covet fami F
— + ary ce mr eter ama >
LL . Ss O FedEx Standard Overnight FedEx Exp .. 8
9 ~ & | m_New York suata_NY 10007 ” Le :
“~F zp . z=
7 ‘3 2 Your intemal Billing Reference 101147=IP002 5 Packaging tude aan 4
c Ss : epee ilen, omowas (] FedkxEnvelops* “E
5 & 13 OPTIONAL pS (1 Fedex Pak* FedEx Fed = 2
= : ir. of Consular i ecial Handling and Delivery Si ; 5
S Ee . - Serva mas ) 202-736-9110 (7) Saturday Det ivery Signature Options Fess mry nny sot Fees Sonion Sta. wea? 3
a “ae 3 Company Office of Policy Review and Int FL peur i Bs tea rath Fo 208) AM, or Fda Expoes Save m
nter-
> & i U.S. Department of State r~Agency Liason (] Msmuenamed = Direct Signane Indirect Signature |
nO . 2 | Attress _SA~29 4th Floor fiend Weakley een Saeed OO efeoe arena wé
a “ne ' ‘tunnat dalvar ta BO, bors br POP Goda ee Cc] FERED nin Deer te nee acral eangsrone goods feeder ereacnyy =
Address 2201 C Hold Saturd Yes re a
O Woe this ling forthe HOLD Ipeation actl Strent my - ee 0 No O Sipura O Weep CO Drv tes is oe B
~~ : ' 7 d i .. B. iy a
09 | cy Washington ee Bay : - a j
3 Fe se DC ap 20520 SS Se a 7
—— 0. or Credit Card No, below. a
$ Cbs Cy necitent CT — J8
°o “ Fox Acot No z ~ Party {_] Credtcart = [[] =
= Cash/Check
3 Citar Na Oan3sr- S4HOoY4 -F4 rw 2|
9 Total Packages  TotpiWeight Total Declarod Valuat ™= 8
a of
Tour ein uss satan
BOL umount tartare,
§ Rev. Date 18 Part #16003 2012-205 Fein» PRINTED IV'U.2.A. RADA ORDO 4 4
ww
eek _}

